 

U.S. Department of Justice

Federal Bureau of Prisons

 

 

Low Security Correctional Institution . Butiner, North Carolina

June 21, 201

REPLY TO ) ect

ATTN OF: nnaéM. Smith
Low Security Correctional Institution
FCC Butner

SUBJECT: Compassionate Release/Reduction in Sentence

TO: FRIEDLANDER, CHARLES JACKSON
Reg. No.: 50328-018
Quarters: WO4-056L (WAKE A)

Staff reviewed your request for a Reduction in Sentence (RIS) to
determine whether you meet the RIS guidelines in accordance with
Program Statement 5050.50 for Debilitated. It has been
determined that you do not meet the criteria under Debilitated
at this time.

You have the right to appeal this decision via the
Administrative Remedy Process. If you choose to appeal, you do
not need to complete the informal review, but you would need to
include a copy of this memorandum with your appeal. Any
decision regarding appeal will be handled in a manner outlined
in policy. Additionally, per policy you have a right to file a
request for a reduction in sentence with your sentencing court
after receiving a BP-11 response or the lapse of 30 days from
the receipt of such a request, by the Warden’s Office.

We are committed to providing you with the necessary and
appropriate care for your medical needs.

ec: AW
Medical Records
Unit Team
